      Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 1 of 24



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HARRIET LOWELL and WESTCHESTER
DISABLED ON THE MOVE, INC., individually and
on behalf of all others similarly situated,

                                      Plaintiffs,                            No. 17-cv-6251 (NSR)
                                                                             OPINION & ORDER
        -against-

LYFT, INC.,
                                     Defendant.


NELSON S. ROMAN, United States District Judge


        Plaintiffs Harriet Lowell and Westchester Disabled on the Move, Inc. ("WDOMI"), on

behalf of themselves and all others similarly situated, bring this putative class action against

Defendant Lyft, Inc. in their amended complaint filed on December 6, 2017 ("Amended

Complaint," ECF No. 20). Plaintiffs assert claims under Title III of the Americans with

Disabilities Act ("ADA"), 42 U.S.C. § 12184; New York State Human Rights Law

("NYSHRL"), N.Y. Exec. Law §§ 290 - 97; and New York City Human Rights Law

("NYCHRL"), N. Y. City Admin. Code §§ 8-101                  31. 1 Presently before the Court is

Defendant's Motion to Dismiss the Amended Complaint pursuant to Federal Rules of Civil

Procedure Rules 12(b)(1) and 12(b)(6) ("Defendant's Motion," ECF No. 31 ). For the following

reasons, Defendant's motion is GRANTED in part and DENIED in part.




         1
           Plaintiffs also submitted a motion for the appointment of interim lead counsel, but on March 23, 2018,
Plaintiffs withdrew this request without prejudice (ECF No. 30).
         Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 2 of 24



                                                  BACKGROUND

    I.          Factual Background

          The following facts are derived from the Amended Complaint and the documents

appended thereto, and are assumed to be true for the purposes of this motion.

          Plaintiff Lowell resides in White Plains, New York and typically uses a motorized

scooter to travel. (Am. Compl.        ,r,r 12 -   13.) To assist her in travel throughout Westchester

County and in her bi-monthly trips to New York City, Plaintiff Lowell would like to use

Defendant's transportation services. (Id.          ,r,r 14, 102.)   PlaintiffWDOMI is a Yonkers, New York

nonprofit, run largely by individuals with disabilities, and operates as an independent living

center for individuals with disabilities. (Id.       ,r,r 18 -   19.) WDOMI's mission includes the

"empower[ing] people with disabilities to control their own lives, advoca[ting] for civil rights

and a society free of barriers to people with disabilities" and "ensuring that people with mobility

disabilities are able to effectively use the transportation services they require." (Id.       ,r,r 20 -   21.)

Members of WDOMI "have been and will be injured" as a result of Defendant's actions,

described below. (Id.      ,r 22.)
          By downloading Defendant's ride-hailing application, a customer can remotely hail a

nearby vehicle, select her destination, and pay through a payment method saved in the

application. (Id.    ,r 33.)   Defendant operates both in White Plains and in Westchester County. (Id.

,r,r 24, 29.)   Unlike New York's Boro Taxi services, or "for hire" livery services, Defendant is

not subject to the Taxi and Limousine Commission's ("TLC") rules and regulations of

accessibility for disabled individuals. (Id.         ,r 35.)   While Defendant requires that its New York

City drivers register with the TLC, Defendant is not subject to the TLC's 2014 agreement to




                                                           2
        Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 3 of 24



make fifty percent of all taxis operating in New York City wheelchair accessible by 2020. (Id.                     ,r
36.)

           Plaintiffs allege that Defendant "pervasively and systematically" excludes people with

mobility disabilities from its convenient transportation services. (Id.           ,r 38.)   To support this

allegation, Plaintiffs note that Defendant does not make wheelchair accessible vehicles

("WAVs") available in Westchester County; individuals who attempt to hail wheelchair

accessible rides in that county receive a text message with alternative transportation services.

(Id.   ,r,r 46, 48.)   In areas where WAVs are available, users with mobility disabilities must toggle

to the "Access Mode" function in Defendant's smartphone application to be matched with a

WAV, and those individuals often experience long wait times. (Id.                ,r,r 47, 49.)   While there are

transportation alternatives to the service offered by Defendant, none are replacements for

Defendant's services. New York City's subway is largely impossible for people with disabilities

to use and its bus system is limited and "largely inefficient." (Id.         ,r,r 41 -   42.) Taxicabs do not

offer the same convenience provided by Defendant's service, which includes the ability to pay

without using cash or presenting a credit card to the driver. 2 (Id.         ,r,r 87 -   88.) Trips around

Westchester County are difficult for Plaintiff Lowell because there is limited local paratransit.

(Id. ,I 105.)

           Plaintiff Lowell learned of Defendant's ongoing discrimination from "friends and

acquaintances who have mobility disabilities and have witnessed [Defendant]'s failure to provide

equivalent, non-discriminatory service." (Id.         ,r 100.)   A friend from White Plains told Plaintiff

he tried to order an accessible Lyft, was informed that none were available, and received a text



           2
           New York City taxicabs now offer the Curb application, which enables users to hail and pay for a taxi
from their smartphones, much like the service offered by Defendant. Curb: The Taxi App,
https://mobileapp.gocurb.com/ (last visited Nov. 21, 2018).

                                                         3
      Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 4 of 24



message from Defendant telling him to obtain an alternate method of transit. (Id.) Because

Defendant does not provide WAVs, Plaintiff Lowell and members of the putative class have

been deterred from downloading Defendant's application or trying to access Defendant's

services as any attempt would be futile even though access to Defendant's services would

improve their lives. (Id. ,i,r 101, 116.) If Plaintiff Lowell had equal access to Defendant's

services, she would be able to travel about Westchester County more often. (Id. ,i 105.)

Additionally, Plaintiff Lowell would be able to visit New York City on a more frequent basis.

(Id. ,i 104.) Currently, she goes to and from New York City approximately twice a month and,

because she cannot use Defendant's services, she must rely on her husband to transport her in

their WAV. (Id. ,r 102.)

        Due to Defendant's failure to provide equal, accessible transportation, Plaintiffs cannot

benefit from Defendant's services. Plaintiffs allege that Defendant's actions are in violation of

the ADA, NYSHRL and NYCHRL. Plaintiffs request declaratory and injunctive relief under the

ADA and compensatory damages in addition to declaratory and injunctive relief under the

NYSHRL and NYCHRL. Specifically, Plaintiffs request that the Court require Defendant to

develop and implement a remedial plan to ensure full and equal access to its services.

        Defendant moves to dismiss Plaintiffs' Amended Complaint due to lack of standing, the

existence of an arbitration agreement in Defendant's terms of Service, and Plaintiffs' failure to

state a claim.

                                      LEGAL STANDARD

        When a court lacks the statutory or constitutional power to adjudicate a case, it should

dismiss the case for lack of subject matter jurisdiction under Rule 12(b)(1 ). Nike, Inc. v.

Already, LLC, 663 F.3d 89, 94 (2d Cir. 2011 ). "A plaintiff asserting subject matter jurisdiction



                                                  4
        Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 5 of 24



has the burden of proving by a preponderance of the evidence that it exists." Morrison v. Nat'!

Aust!. Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (quoting Makarova v. United States, 201 F.3d

110, 113 (2d Cir. 2000)). In assessing whether there is subject matter jurisdiction, the Court

must accept as true all material facts alleged in the complaint, Conyers v. Rossides, 558 F.3d

137, 143 (2d Cir. 2009), but "the court may resolve [any] disputed jurisdictional fact issues by

referring to evidence outside of the pleadings." Zappia Middle E. Const. Co. v. Emirate ofAbu

Dhabi, 215 F.3d 247, 253 (2d Cir. 2000). Lack of standing may be grounds for dismissal under

Rule 12(b)(l). See Buonasera v. Honest Co., 208 F. Supp. 3d 555, 560 (S.D.N.Y. 2016).

         To survive a Rule 12(b)(6) motion, a complaint must plead "enough facts to state a claim

to relief that is plausible on its face." Bell At!. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A

claim is facially plausible when the factual content pleaded allows a court "to draw the

reasonable inference that the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). "While legal conclusions can provide the framework of a complaint,

they must be supported by factual allegations." Id. at 679. A complaint must supply "factual

allegations sufficient 'to raise a right to relief above the speculative level' "to move beyond a

motion to dismiss. ATS] Commc 'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007)

(quoting Twombly, 550 U.S. at 555). In deciding a motion to dismiss, a court must take all

material factual allegations as true and draw reasonable inferences in the non-moving party's

favor. Iqbal, 556 U.S. at 678. However, the court is" 'not bound to accept as true a legal

conclusion couched as a factual allegation,' " or to credit "mere conclusory statements" or

"[t]hreadbare recitals of the elements of a cause of action." Id. (quoting Twombly, 550 U.S. at

555).




                                                 5
        Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 6 of 24



         Further, a court is generally confined to the facts alleged in the complaint for the

purposes of considering a motion to dismiss pursuant to 12(b)(6). Cartee Indus. v. Sum Holding

L.P., 949 F.2d 42, 47 (2d Cir. 1991). A court may, however, consider documents attached to the

complaint, statements or documents incorporated into the complaint by reference, matters of

which judicial notice may be taken, public records, and documents that the plaintiff either

possessed or knew about, and relied upon, in bringing the suit. See Kleinman v. Elan Corp., 706

F.3d 145, 152 (2d Cir. 2013).

                                            DISCUSSION

   I.        Standing

         The Court must first address whether Plaintiffs have standing to bring their Amended

Complaint before dete1mining whether Plaintiffs have stated a plausible claim for relief. See

Buonasera v. Honest Co., 208 F. Supp. 3d 555,560 (S.D.N.Y. 2016) (noting that comis should

consider jurisdictional issues such as standing first in a motion to dismiss analysis). A1iicle III

requires federal comis to adjudicate actual cases and controversies. U.S. Const. art. III, § 2, cl. 1.

To ensure that there is a case or controversy, the Supreme Comi has held that paiiies before

federal courts must have standing to bring their claims. Lujan v. Defenders of Wildlife, 504 U.S.

555, 560 (1992). A plaintiff has standing if she has suffered "(1) an injury that is (2) 'fairly

traceable to a defendant's allegedly unlawful conduct' and that is (3) 'likely to be redressed by

the requested relief.'" Id. 560-61 (quotingA!lenv. Wright, 468U.S. 737,751 (1984)). Forthe

purposes of standing, an injury must be an injury in fact, meaning "an invasion of a legally




                                                   6
      Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 7 of 24



protected interest which is (a) concrete and patiicularized ... and (b) actual or imminent, not

'conjectural' or 'hypothetical.'" Id. at 560 (citations and quotation marks omitted).

       Where, as here, standing is challenged at the pleadings stage, a court must "accept as true

all material allegations of the complaint, and must construe the complaint in favor of the

complaining patiy." United States v. Vazquez, 145 F.3d 74, 81 (2d Cir. 1998) (internal quotation

marks omitted). "To survive the motion to dismiss, the pleadings must only 'allege facts that

affirmatively and plausibly suggest that [Plaintiffs have] standing to sue.' "Boelter v. Hearst

Commc'n, Inc., 192 F. Supp. 3d 427,437 (S.D.N.Y. 2016) (quotingAmidax Trading Grp. v.

S. WIF. T., 671 F.3d 140, 145 (2d Cir. 2011)). A plaintiffs "standing allegations need not be

crafted with precise detail." Baur v. Veneman, 352 F.3d 625, 631 (2d Cir. 2003).

        When a claim arises from a civil rights statute, such as the ADA, comis must exercise

special care in conducting a standing analysis. "The Supreme Court has instructed courts to take

a broad view of constitutional standing in civil rights cases, especially where, as under the ADA,

'complaints by private persons are the primary method of obtaining compliance with the Act.' "

Fiedler v. Ocean Prop., Ltd., 683 F. Supp. 2d 57, 65 (D. Me. 2010) (quoting Trafficante v.

Metro. Life Ins., Co., 409 U.S. 205,209 (1972)); see also Harty v. Spring Valley Marketplace

LLC, No. 15-CV-8190(NSR), 2017 WL 108062, at *6 (S.D.N.Y. Jan. 9, 2017); Baker v. NY

State Dep't ofEnvtl. Conservation, No. 10-CV-1016 (GLS)(RFT), 2012 WL 2374699, at *2

(N.D.N.Y. June 22, 2012).

        A. Plaintiff Lowell

        Defendant argues that Plaintiff Lowell lacks standing to bring this action because she

failed to identify a concrete injury as she did not sign up for Defendant's application or otherwise

attempt to obtain a ride from Defendant. (Def.'s Mot. p. 12.) To plausibly demonstrate the first



                                                 7
      Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 8 of 24



element of standing, injury, an individual with a disability is not required to "engage in a futile

gesture if such person has actual notice that a person or organization covered by this subchapter

does not intend to comply with its provisions." 42 U.S.C. § 12188(a)(l). This Circuit has not

settled upon a clear definition of"actual notice."3 Kreisler v. Second Ave. Diner Corp., No. 10-

CV-7592(RJS), 2011 WL 4686500, at *2 (S.D.N.Y. Oct. 5, 2011). The majority of cases suggest

that "actual knowledge" under the futile gesture analysis comes from the plaintiff personally

witnessing the alleged accessibility issue. See Pickem v. Holiday Quality Foods, Inc., 293 F.3d

1133 (9th Cir. 2002); Perdum v. Forest City Ratner Cos., 174 F. Supp. 3d 706, 715 (E.D.N.Y.

2016); Shariffv. Radamar Meat Corp., No. 1 l-CV-6369(NGG)(RML), 2014 WL 1311563, at *2

(E.D.N.Y. Feb. 14, 2014); Small v. Gen. Nutrition Cos., 388 F. Supp. 2d 83, 88 - 89 (E.D.N.Y.

2005).

         In cases where a plaintiff did not personally observe the accessibility issue in the

building, comis have generally held that the plaintiff lacked standing. The Eighth Circuit has

held that one plaintiff had standing because he entered the relevant building and observed the

facility before bringing the lawsuit and that other plaintiffs who did not enter or observe the

facility did not have standing. Steger v. Franco, Inc., 228 F.3d 889, 893 (8th Cir. 2000). A New

York comi held that a list of ADA violations prepared after the inspection of a building was not

sufficient to establish actual knowledge. Access 4 All, Inc. v. Trump Int 'l Hotel and Tower

Condo., 458 F. Supp. 2d 160, 174- 75 (S.D.N.Y. 2006). Similarly, a Florida court held that




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          Actual notice is also referred to in case law as "actual knowledge." See, e.g., Perdum v. Forest City
Ratner Cos., 174 F. Supp. 3d 706, 714-15 (E.D.N.Y. 2016); Shariffv. Radamar Meat Corp., No. ll-CV-
6369(NGG)(RML), 2014 WL 1311563, at *2 (E.D.N.Y. Feb. 14, 2014); Access 4 All, Inc. v. Trump Int'! Hotel and
Tower Condo., 458 F. Supp. 2d 160. 173 (S.D.N.Y. 2006).

                                                       8
      Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 9 of 24



knowledge of accessibility conditions at a building derived from a website was not actual

knowledge. Resnick v. Magical Cruise Co., Ltd., 148 F. Supp. 2d 1298 (M.D. Fla. 2001).

       The case before the Court is distinct from the cases discussed above in that Plaintiffs'

claims are not about access to a building, but access to transpmiation facilitated through a digital

application. "Congress clearly contemplated that 'service establishments' include providers of

services which do not require a person to physically enter an actual physical structure." Nat'!

Fed'n of the Blind of Cal. v. Uber Tech., Inc., 103 F. Supp. 3d 1073, 1083 (N.D. Cal. 2015)

(quoting Carparts Distrib. Ctr., Inc. v. Auto. Wholesaler's Ass'n of New England, Inc., 37 F.3d

12, 13 (1st Cir. 1994)). Unlike accessibility conditions in a building, an individual cannot

personally observe the objectionable conditions in Defendant's service without downloading the

application, requesting a ride, and being refused. This would require Plaintiffs to engage in a

futile gesture, as they had actual knowledge that Lyft did not offer sufficient accessible

transpmiation for those with mobility disabilities. Plaintiffs plausibly allege that they had actual

knowledge of the accessibility issues with Defendant's service. Contrary to the Defendant's

statement that Plaintiff Lowell's knowledge of Defendant's accessibility issues was based on a

conversation with one person, the Amended Complaint alleges that Plaintiff Lowell had heard

from multiple people that requesting a ride through Defendant's application was futile for

individuals in need of WAVs. (Compl. ,i 100) (Def.'s Mot. p. 12.) Accordingly, taking a broad

view of constitutional standing and drawing all reasonable inferences in favor of Plaintiff

Lowell, as required at the motion to dismiss stage, Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),

Plaintiff Lowell plausibly claimed an injury for the purposes of standing.

        Plaintiffs' Amended Complaint also plausibly establishes the second and third elements

of standing with respect to Plaintiff Lowell. Her injury, not having equal access to Defendant's



                                                  9
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 10 of 24



services, is fairly traceable to Defendant and the Court would likely be able to redress this injury

by requiring Defendant to comply with accessibility laws. (Compl. p. 28); See Reed v. 1-800

Flowers.com, 327 F. Supp. 3d 539, 550 (E.D.N.Y. 2018) (citing cases stating that courts may

require defendants to comply with the ADA).

       Because Plaintiff Lowell meets each of the requirements for standing, Defendant's

motion to dismiss Plaintiff Lowell's claim for lack of standing is denied.

        B. Plaintiff WDOMI

        According to Defendant, Plaintiff WDOMI lacks associational or organizational standing

to file this action. (Def.' s Mot. pp. 13 - 18.)

                l.      Associational Standing

        An organization has associational standing if it can show that (1) its members would have

standing to sue in their own right; (2) the interests it seeks to protect relate to the organization's

purpose; and (3) neither the asserted claim nor the requested relief require the participation of

individual members of the lawsuit. Hunt v. Wash. State Apple Advert. Comm 'n, 432 U.S. 333,

343 (1977).

        Plaintiffs' Amended Complaint establishes the first element; its members would have

standing to sue in their own right. Members of Plaintiff WDOMI, like Plaintiff Lowell, "rely on

compliance by public accommodations, including transportation services, with local, state, and

federal [accessibility] disability laws" and have been deterred from using Defendant's

transportation services because of Defendant's failure to comply with these laws. (Comp1. ,r,r 31,

116, 120 & 127.) Requiring Defendant to comply with accessibility laws would redress this

injury. (Id. p. 28); See Reedv. 1-800-Flowers.com, 327 F. Supp. 3d 539,550 (E.D.N.Y. 2018).

Thus, because the Amended Complaint contains sufficient facts to support a plausible claim that



                                                   10
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 11 of 24



members of Plaintiff WDOMI suffered an concrete and particularized injury, fairly traceable to

Defendant's conduct and able to be redressed by the Comi, the Court is satisfied that they

WDOMI members would independently have standing.

       Plaintiff WDOMI easily satisfies the second element of associational standing. The

interests it seeks to protect through this lawsuit, equal and accessible access to transp01iation

public accommodations, fall squarely within its purpose. "A key component of WDOMI's

mission is ensuring that people with mobility disabilities are able to effectively use the

transportation services they require." (Compl. ,i 21.)

       However, PlaintiffWDOMI does not establish the third element for its NYSHRL and

NYCHRL claims; it fails to plausibly show that neither Plaintiff WDOMI' s claim nor the relief

requested requires the participation ofWDOMI's members. "[W]here the organization seeks a

purely legal ruling without requesting that the federal comi award individualized relief to its

members, the Hunt test may be satisfied." Bano v. Union Carbide Corp., 361 F.3d 696, 714 (2d

Cir. 2004). In Hunt, the Supreme Court found that neither the interstate commerce claim nor the

requests for declaratory or injunctive relief required individualized proof and held that both

claims were properly resolved "in a group context." Hunt, 432 U.S. at 344. Here, unlike the

Plaintiffs in Hunt, Plaintiffs request compensatory damages in addition to declaratory and

injunctive relief for their NYSHRL and NYCHRL claims. (Compl. ,i 25.) A request for

compensatory damages, such as the request in Plaintiffs' Amended Complaint, requires the

participation of a group's individual members. Irish Lesbian and Gay Org. v. Giuliani, 143 F.3d

638,651 (2d Cir. 1998).




                                                  11
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 12 of 24



       Accordingly, Plaintiff WDOMI does not have associational standing for its NYSHRL and

NYCHRL claims because it fails to satisfy the third prong of the associational standing analysis

for those claims.

                    2.     Organizational Standing

       To have organizational standing, an organization must establish that there is (1) an

imminent injury "to itself as an organization (rather than to its members) that is 'distinct and

palpable' "; (2) the injury is fairly traceable to the defendant's actions; and (3) the court can

redress the injury. Centro de la Comunidad Hispana de Locust Valley v. Town of Oyster Bay,

868 F.3d 104, 109 (2d Cir. 2017). For organizational standing, an organization is "just another

person-albeit a legal person-seeking to vindicate a right." NY. Civil Liberties Union v. NY.

City Transit Auth., 684 F.3d 286,294 (2d Cir. 2012).

        Here, Plaintiff WDOMI fails to satisfy the first element, an injury to itself as an

organization. Plaintiff WDOMI states that it is injured because it must divert resources to

advocate "for its constituents who are harmed by Lyft's discriminatory policies and practices."

(Compl.   ,r 22.)    This injury is not distinct from the matter before the Court. Rather, Plaintiff

WDOMI's stated injury results from WDOMI's efforts to pursue this very lawsuit. In Havens

Realty Corp. v. Coleman, the Supreme Court held that "concrete and demonstrable injury to an

organization's activities-with the consequent drain on the organization's resources-constitutes

far more than simply a setback to the organization's abstract social interests" and that such an

injury could be sufficient to establish organizational standing. 455 U.S. 363, 379 (1982).

However, lower courts disagree about how broadly Havens should be applied.

        The circuit courts are split on whether litigation expenses alone is an injury sufficient to

support organizational standing. See Citizens for Responsibility and Ethics in Wash. v. Trump,



                                                     12
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 13 of 24



276 F. Supp. 3d 174, 192 (S.D.N.Y. 2017). Some circuit courts hold that the expenditure of

resources for litigation is insufficient to confer standing. People for the Ethical Treatment of

Animals v. US. Dept. ofAgric., 797 F.3d 1087, 1093 (D.C. Cir. 2015) ("[A]n organization's

diversion of resources to litigation or to investigation in anticipation of litigation is considered a

'self-inflicted' budgetary choice that cannot qualify as an injury in fact for purposes of

standing."); Blunt v. Lower Merion Sch. Dist., 767 F.3d 247,285 (3d Cir. 2014) (holding that

organizations do not satisfy the injury-in-fact requirement of standing by "making expenditures

solely for the purpose of litigation"). Other circuit courts adopt a broader interpretation of

Havens and hold that diversion of resources from core organizational activities to litigation

challenging a defendant's conduct is a sufficient injury for organizational standing so long as the

injury is concrete. See N.A.A.C.P. v. City of Kyle, 626 F.3d 233,239 (5th Cir. 2010) (holding

that an organization's alleged injury, examining developments in local zoning ordinances, was

"simply a setback to the organization's abstract social interests" and not a diversion ofresources

sufficient to show a concrete injury); Ragin v. Harry Macklowe Real Estate Co., 6 F.3d 898, 905

(2d Cir. 1993). In Ragin, an organization challenged the use of only white models in

advertisements for housing and alleged that it sustained an injury because the defendant's actions

forced the organization to identify and counteract the defendant's advertising practices. Ragin, 6

F .3d at 901. The Second Circuit agreed and held that the organization had an injury sufficient to

supp01i organizational standing. Id. at 905.

        After Ragin, some courts in this Circuit have found standing where a defendant's conduct

interferes with or otherwise burdens an organization's ability to pursue its usual activities. See

Centro de la Comunidad Hispana de Locust Valley, 868 F.3d at 110; N. Y Civil Liberties Union,

684 F.3d at 295. Other courts have extended Havens further and held that an organization has



                                                  13
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 14 of 24



standing when it is forced to "expend resources to prevent some adverse or harmful consequence

on a well-defined and particularized class of individuals." See Olsen v. Stark Homes, Inc., 759

F.3d 140, 158 (2d Cir. 2014); Citizens for Responsibility and Ethics in Wash., 276 F. Supp. 3d at

190 (holding that the organization, interested in protecting citizens' rights to be informed of

government activity, did not have standing because it made the choice to challenge the

defendant's actions and was not attempting to prevent or reverse adverse effects). In Olsen,

Long Island Housing Services ("LIHS"), along with other plaintiffs, claimed that the defendant

discriminated against individuals based on their disabilities in violation of the Fair Housing Act.

Olsen, 759 F.3d at 143. To determine whether the defendant's actions were discriminatory in

violation of the Fair Housing Act, LIHS sent testers to the defendant's facility. Id. at 143 - 44.

LIHS then submitted administrative complaints, based on information from the testers, to the

Department of Housing and Urban Development. Id. at 144. These complaints were submitted

before the plaintiffs commenced their suit against the defendant in federal court. Id. The court

held that LIHS' s allegations that it expended resources by sending testers to the defendant was a

concrete and particularized injury. Id. at 158.

        Here, Plaintiff WDOMI fails to plausibly allege that it sustained an injury sufficient to

support organizational standing. Unlike LIHS in Olsen, PlaintiffWDOMI does not allege that

Defendant's conduct caused it to expend any resources separate from this litigation or that it was

·otherwise impeded in its ability to pursue its mission. There is no indication in the Amended

Complaint that Defendant WDOMI conducted any sort of investigation or otherwise expended

resources because of Defendant's conduct at issue before this action. Plaintiff WDOMI claims

that it suffered injury "in the form of diversion of [its] resources and frustration of its mission,"

but this allegation is conclusory and unsupported by any facts in the Amended Complaint.



                                                  14
      Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 15 of 24



(Compl. ,i 22.) The Amended Complaint does not include any facts, beyond the aforementioned

conclusory allegation, to plausibly support that Defendant's conduct interfered WDOMI's ability

to pursue its mission or that it was forced to divert resources to prevent an adverse consequence,

like LIHS in Olsen. Thus, PlaintiffWDOMI fails to establish an injury to itself as an

organization, the first element of organizational standing.

          Thus, because Plaintiff WDOMI cannot satisfy all of the elements for organizational

standing and cannot satisfy all of the elements for associational standing specifically for its

NYCHRL and NYSHRL claims, WDOMI only has standing to pursue its ADA claim.

    II.       Enforcement of Arbitration Clause

          Defendant next argues that the arbitration waiver in its terms of Service ("TOS") applies

to Plaintiffs' claims under the direct benefits estoppel doctrine, even though Plaintiffs did not

sign up for Defendant's application or agree to the TOS. (Def.'s Mot. p. 8.) Defendant's TOS

"explicitly states that the claims subject to arbitration include claims alleging discrimination and

claims under the ADA." (Id. p. 9.) Non-signatories can be bound to arbitration agreements under

five distinct theories: "(1) incorporation by reference; (2) assumption; (3) agency; (4) veil-

piercing/alter ego; and (5) estoppel." Am. Bureau ofShipping v. Tencara Shipyard S.P.A., 170

F.3d 349, 352 (2d Cir. 1999). Defendant moves to dismiss under the estoppel theory, which

states, "A party is estopped from denying its obligation to arbitrate when it receives a

'direct benefit' from a contract containing an arbitration clause." Am. Bureau of Shipping, 170

F.3d at 353. 4 Benefits may be direct, meaning coming directly from the agreement, or they may


          4
           Defendant cites to Robinson Brog Leinwand Greene Genovese & Gluck P. C. v. John M O 'Quinn &
Associates, L.L.P., which describes the doctrine as follows: "When a non-signatory plaintiff seeks the benefits ofa
contract that contains an arbitration provision, it is estopped from 'denying its obligation to arbitrate.' " 523 F.
App'x 761,763 (2d Cir. 2013); (Def.'s Mot. p. 9.) However, the majority of Second Circuit opinions, as well as
opinions from other circuit courts, describe the requisite benefit under this doctrine as something that the plaintiff
has already received, not something she seeks. Compare Hirsch v. Citibank, NA., 542 F. App'x 35, 37 (2d Cir.
2013); AICO Int'!, E.C. v. Merrill Lynch & Co., 98 F. App'x 44, 46 (2d Cir. 2004); Spechtv. Netscape Commc'ns

                                                          15
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 16 of 24



be indirect in that the non-signatory "exploits the contractual relation of parties to the agreement,

but does not ... [assume] the agreement itself." Boroditskiy v. European Specialties LLC, 314 F.

Supp. 3d 487,495 (S.D.N.Y. 2018) (quoting MAG Portfolio Consultant, GMBH v. Merlin

Biomed Grp. LLC, 268 F.3d 58, 61 (2d Cir. 2001)).

        However, Plaintiffs here have not received a benefit from Defendant's TOS; that is the

whole problem. Plaintiffs' entire claim is that they are unable to benefit from Defendant's

services due to Defendant's failure to accommodate their disabilities. (Compl.               ,r,r 103, 107 &
109.) It seems supremely unjust to hold individuals to an arbitration clause buried in the

verbiage of a terms of service of agreement for a service that they did not sign up for,

particularly when those individuals have not received any benefits from the agreement, direct or

indirect. Courts have upheld arbitration agreements in terms of service contracts because the

plaintiffs were presented with the opportunity to review the terms in the form of a hyperlink

before signing up for the service. See Bassett v. Elec. Arts Inc., 13-CV-4208(MKB)(SMG), 2015

WL 1298644, at *4 (E.D.N.Y. Feb. 9, 2015); Fteja v. Facebook, Inc., 841 F. Supp. 2d 829, 839

40 (S.D.N.Y. 2012). Unlike the plaintiffs in those cases, Plaintiffs here did not sign up for

Defendant's service and do not allege that they were ever presented with the TOS to review.

Requiring Plaintiffs to arbitrate under the TOS would hold them to an arbitration clause in an

agreement they neither signed up for nor benefited from, and therefore direct benefits estoppel

does not apply.



Corp., 206 F.3d 17, 39 (2d Cir. 2002); MAG Portfolio Consultant, GMBH v. Merlin Biomed Grp. LLC, 268 F.3d 58,
61 (2d Cir. 2001); Am. Bureau of Shipping v. Tencara Shipyard S.P.A., 170 F.3d 349, 353 (2d Cir. 1999); Ried v.
Doe Run Res. C01p., 701 F.3d 840,846 (8th Cir. 2012); Pacific Unidata Ltd. v. Avon Prod. Inc., 107 F. App'x 754,
755 (9th Cir. 2004); Bridas S.A.P.I.C. v. Turkmenistan, 345 F.3d 347, 361- 62 (5th Cir. 2003); Int'! Paper Co. v.
Schwabedissen Maschinen & Anlagen GMBH, 206 F.3d 411,418 (4th Cir. 2000), with Robinson Brog Leinwand
Greene Genovese & Gluck P.C., 523 F. App'x at 763; World Omni Fin. C01p. v. Ace Capital Re Inc., 64 F. App'x
809, 812 (2d Cir. 2003). Because the majority of Second Circuit opinions support the latter definition and have not
been overruled, the Court will proceed under that definition.

                                                        16
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 17 of 24



          Because Plaintiffs have not agreed to Defendant's TOS and are not otherwise estopped

from avoiding the arbitration agreement in the TOS, the Court will analyze whether Plaintiffs

plausibly establish violations under the ADA, NYSHRL, and NYCHRL.

   III.      Plaintiffs' Civil Rights Claims

             A. Title III ADA

          According to Defendant, Plaintiffs fail to state a plausible claim for relief because "the

only relief they seek-that the Court order Lyft to provide WAVs-is not available as a matter of

law." (Def.'s Mot. p. 20.) However, as Plaintiffs acknowledge, the Amended Complaint does

not include a specific request that Defendant be required to provide WAVs but does request that

the Defendant be required to "develop and implement a remedial plan to ensure full and equal

access to its services." (Compl. p. 28) (Pls.' Opp'n pp. 17 - 18.)


          Whether the Court has the authority to require Defendant to provide WAVs is irrelevant

at this stage. On a motion to dismiss, the Court must only determine whether Plaintiffs stated a

claim for relief that is plausible on its face and is obligated to draw all reasonable inferences in

Plaintiffs' favor. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Amended Complaint contains

numerous factual allegations surrounding Defendant's failure to provide WAVs. However,

Plaintiffs' request for relief is not that the Court require Defendant to provide WAVs but that the

Court (1) declare that Defendant's policies and practices violate the ADA; (2) enjoin Defendant

from further violations of the ADA; and (3) require that Defendant develop and implement a

plan to ensure equal access to its services. (Compl. p. 28.) Drawing all reasonable inferences is

Plaintiffs' favor, the Court interprets the allegations surrounding Defendant's deficient WAV

offerings as supp01i for Plaintiffs' claim that Defendant violates the ADA by discriminating

against people with mobility disabilities and not as a request for relief. A request for injunctive


                                                    17
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 18 of 24



reliefrequiring compliance with the ADA, such as Plaintiffs' request for relief, is sufficient to

withstand a motion to dismiss. See Reedv. 1-800-Flowers.com, 327 F. Supp. 3d 539, 550-51

(E.D.N.Y. 2018). Accordingly, the Court finds that Plaintiffs' have requested a form ofrelief

which can be granted.


       Defendant does not raise other grounds to dismiss Plaintiffs' Amended Complaint under

Rule 12(b)(6). Assuming Defendant also moves to dismiss Plaintiffs' ADA claim for failure to

plausibly allege each of the elements of the claim, the Court would still deny the motion to

dismiss. Under Title III of the ADA, "[n]o individual shall be discriminated against on the basis

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation." 42 U.S.C. § 12182(a). To

state a claim for relief under Title III, a plaintiff must allege that (1) she is disabled within the

meaning of the ADA; (2) the defendants own, lease, or operate a place of public accommodation;

and (3) the defendants discriminated against her by denying her a full and equal opportunity to

enjoy the defendant's services. Rosa v. 600 Broadway Partners, LLC, 175 F. Supp. 3d 191, 198

- 99 (S.D.N.Y. 2016) (citing Camarillo v. Carrots Corp., 518 F.3d 153, 156 (2d Cir. 2008)).


        Plaintiffs satisfy each element of an ADA claim based on the face of the Amended

Complaint. First, they meet the first element of an ADA claim by plausibly alleging that they are

individuals with disabilities within the meaning of the ADA. (Compl.        ,r 127.)   Plaintiffs also

satisfy the second element for the purposes of this motion to dismiss, that Defendant operates a

public accommodation. Defendant disputes that it is a public accommodation in the business of

transportation and a covered entity under Title III of the ADA, but Defendant aclmowledges that

Plaintiffs allege it is a transportation company and that the Court is required to accept Plaintiffs'

                                                   18
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 19 of 24



allegations as true for the purpose of the motion to dismiss. (Def.'s Mot. p. 2); See

42 U.S.C. § 12181(7). The Amended Complaint states that Defendant operates a public

accommodation. (Compl., 132.) If Plaintiffs' statements on the face of the Amended

Complaint were not sufficient, the Court would still be unable to grant Defendant's motion to

dismiss on the issue of whether Defendant is a public accommodation. It is premature to decide

the question of whether a defendant is a public accommodation at the motion to dismiss phase.

Nat'! Fed'n of the Blind of Cal. v. Uber Tech., Inc., 103 F. Supp. 3d 1073, 1083 (N.D. Cal. 2015)

(denying the defendant's motion to dismiss because more factual development was required to

determine whether the defendant, Uber, was a public accommodation under the ADA); see

Ramos v. Uber Tech., Inc., No. 14-CA-502(XR), 2015 WL 758087, at *6 (W.D. Tex. Feb. 20,

2015) (denying the defendant's motion to dismiss and holding that the plaintiffs had not failed to

prove that Lyft and Uber offer public accommodations under the ADA). Therefore, the Court

will consider Defendant to be a covered entity under Title III of the ADA for the purposes of this

motion and finds that Plaintiffs have satisfied the second prong of the ADA analysis.


       Finally, Plaintiffs state a facially plausible claim that Defendant discriminated against

Plaintiffs by denying them a full and equal opp01iunity to enjoy Defendant's services based on

their disabilities. In Lincoln Cercpac v. Health and Hospital Corp., the court granted the

defendant's motion to dismiss because the plaintiffs failed to allege that there was a service they

were being denied or that they were being denied equal access to a service. 977 F. Supp. 274,

280 (S.D.N.Y. 1997). Unlike the plaintiffs in Lincoln Cercpac, Plaintiffs in this case allege that

Defendant is denying them equal access to a service, specifically Defendant's transp01iation

services, because of their disabilities. (Compl. ,, 109- 10, 136, 137.)




                                                 19
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 20 of 24



       Thus, Plaintiffs' ADA claim survives Defendant's motion to dismiss, assuming

Defendant also argues that Plaintiffs failed to plead a plausible ADA claim, because the

Amended Complaint contains sufficient facts to plausibly support each element of that claim.


       B. NYSHRL


       Claims under the NYSHRL are analyzed using the same standards that apply to the ADA.

Kemp v. Metro-North R.R., 316 F. App'x 25, 26 (2d Cir. 2009). Accordingly, the three element

test articulated in the Court's ADA analysis applies here. See Rosa, 175 F. Supp. 3d at 198 - 99.

As stated supra, for the purposes of this motion, there is no dispute that Plaintiffs are disabled

within the meaning of the ADA or that Plaintiffs have plausibly alleged that Defendant is a

public accommodation. Additionally, the Amended Complaint contains sufficient facts to

plausibly support Plaintiffs' claim that Defendant discriminated against them by denying them a

full and equal opportunity to enjoy its ridesharing services. (Compl.   ,r,r 109 -   10, 136, 137.)

"Defendant denies individual [sic] who use motorized and other non-folding wheelchairs,

including Plaintiff Lowell [and] WDOMI members ... full and equal enjoyment of Defendant's

services." (Id.   ,r 137.)

       Because Plaintiffs have stated a facially plausible claim for each of the required elements,

Defendant's motion to dismiss the NYSHRL claim is denied.


        C. NYCHRL


        Comis "must analyze NYCHRL claims separately and independently from any federal

and state law claims" and must construe NYCHRL provisions broadly and in favor of the

plaintiff. Mihalikv. Credit Agricole Cheuvreux N Am., Inc., 715 F.3d 102, 109 (2d Cir. 2013).


                                                 20
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 21 of 24



In Snowden v. Trustees of Columbia University, the Second Circuit held that the district court

properly dismissed a plaintiffs NYCHRL claim after conducting a separate analysis and

focusing on the "broad and remedial" aspects of the NYCHRL. 612 F. App'x 7, 10 (2d Cir.

2015).


         Under NYCHRL, it is unlawful for any owner of a place or provider of public

accommodation to deny an individual full and equal enjoyment, on equal terms and conditions,

of accommodations or services based on an individual's disability. N.Y. City Admin Code§§ 8-

107(4). Unlike in Westchester County, Defendant offers WAVs in New York City. 5 (Compl.                         ,r,r
46- 49). The issue is, according to Plaintiffs, that there are long wait times for WAVs in New

York City for those individuals requiring WAVs because Defendant does not provide enough

such vehicles. (Id.    ,r 49.)   There is no case law to indicate that extended wait times for a public

accommodation is a NYCHRL violation. While it is a NYCHRL violation to entirely exclude a

person with a disability from accessing a public accommodation, see All Island Airport Serv.,

Inc. v. NY State Div. of Human Rights, 127 A.D.3d 967,968 (N.Y. App. Div. 2015), that is not

the situation before the Court. Defendant offers, albeit in a small number, WAVs in New York

City. Analyzing Plaintiffs' NYCHRL claims separately, and construing the provisions broadly,

the Court finds that Plaintiffs failed to state a facially plausible claim under the NYCHRL

because they did not plausibly allege a NYCHRL violation.




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           By enabling access mode in the Lyft application, users seeking rides in New York City have the option to
hail a WAY. Lyft, https://help.lyft.com/hc/en-us/articles/115013081668-Accessible-vehicle-dispatch (last visited
Nov. 21, 2018). Courts may take judicial notice ofpublically available websites when the authenticity is not in
dispute. See Wells Fargo Bank, NA. v. Wrights Mill Holdings, LLC, 127 F. Supp. 3d 156, 167 (S.D.N.Y. 2015); In
re Bayer Co,p. Combination Aspirin Prod. Mktg. & Sales Practices Litig., 701 F. Supp. 2d 356, 367-68 (E.D.N.Y.
2010). Parties do not dispute the authenticity of the Lyft application or website. (Def.'s Mot. p. 7); (Compl. ,i 48
n.2.)

                                                         21
     Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 22 of 24



                                          CONCLUSION

         For the foregoing reasons, Defendant's Motion to Dismiss the Amended Complaint is

GRANTED in part and DENIED in part. Defendant's motion to dismiss Plaintiffs' NYCHRL

claim is GRANTED and Defendant's motion to dismiss PlaintiffWDOMI's NYSHRL claim is

GRANTED. Defendant's motion to dismiss Plaintiffs' ADA claims and Plaintiff Lowell's

NYSHRL claim is DENIED. The Clerk of the Court is respectfully directed to terminate the

motion at ECF No. 31. Defendant shall file its answer on or before December 20, 2018. The

parties are directed to appear before this Court for an initial pre-trial conference on January 4,

2019 at 10:00 AM. The parties are also directed to confer, complete, and submit to the Court the

attached amended case management plan before the initial pre-trial conference. This constitutes

the Comi' s Opinion and Order.



Dated:    November 29, 2018
          White Plains, New York


                                                       /
                                                   ,/  ~~ON S. ROMAN
                                                  (_~ited States District Judge




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       Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 23 of 24



UNITED STATES DISTRICT COURT                                                    Rev. Jan. 2012
SOUTHERN DISTRICT OF NEW YORI(
-------------------------------------------------------------x

                                                                   CIVIL CASE DISCOVERY PLAN
                                             Plaintiff(s),         AND SCHEDULING ORDER
                  - against -


                                             Defendant(s).         _ _ CV _ _ _ _ (NSR)
-------------------------------------------------------------x

       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

         1.       All parties [consent] [do not consent] to conducting all further proceedings before
                  a Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c).
                  The parties are free to withhold consent without adverse substantive consequences.
                  (If all patties consent, the remaining paragraphs of this form need not be
                  completed.)

         2.       This case [is] [is not] to be tried to a jury.

         3.       Joinder of additional parties must be accomplished by


         4.       Amended pleadings may be filed until _ _ _ _ _ _ _ __

         5.       Interrogatories shall be served no later than _ _ _ _ _ _ _ _ _ , and responses
                  thereto shall be served within thiity (30) days thereafter. The provisions of Local
                  Civil Rule 33.3 [shall] [shall not] apply to this case.

         6.       First request for production of documents, if any, shall be served no later than


         7.       Non-expert depositions shall be completed by _ _ _ _ _ _ _ _ _ _ _ __

                  a.       Unless counsel agree otherwise or the Court so orders, depositions shall not
                           be held until all parties have responded to any first requests for production
                           of documents.

                  b.       Depositions shall proceed concurrently.

                  c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
                           non-paity depositions shall follow paity depositions.
      Case 7:17-cv-06251-NSR-LMS Document 49 Filed 11/29/18 Page 24 of 24




      8.     Any further interrogatories, including expert interrogatories, shall be served no
             later than - - - - - - - - - -

      9.     Requests to Admit, if any, shall be served no later than


       10.   Expert reports shall be served no later than - - - - - - - - - -

       11.   Rebuttal expert repmis shall be served no later than - - - - - - - - - -

       12.   Expert depositions shall be completed by _ _ _ _ _ _ _ _ __

       13.   Additional provisions agreed upon by counsel are attached hereto and made a part
             hereof.

       14.   ALL DISCOVERY SHALL BE COMPLETED BY


       15.   Any motions shall be filed in accordance with the Court's Individual Practices.

      16.    This Civil Case Discovery Plan and Scheduling Order may not be changed without
             leave of Comi ( or the assigned Magistrate Judge acting under a specific order of
             reference).

       17.   The Magistrate Judge assigned to this case is the Hon. _ _ _ _ _ _ _ _ __

      18.    If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
             the Magistrate Judge will schedule a date ce1iain for trial and will, if necessary,
             amend this Order consistent therewith.

      19.    The next case management conference is scheduled for _ _ _ _ _ _ _ __
             at _ _ _ _ _ . (The Court will set this date at the initial conference.)




      SO ORDERED.

Dated: White Plains, New York




                                                            Nelson S. Roman, U.S. District Judge
